Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 1 of 7




                EXHIBIT 21
Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 2 of 7
Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 3 of 7
Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 4 of 7
Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 5 of 7
Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 6 of 7
Case 1:23-cv-01599-ABJ-ZMF Document 110-7 Filed 09/14/23 Page 7 of 7
